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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                                  )
                                                           )
               Plaintiff,                                  )
                                                           )
       v.                                                  )         CR No. 05-1849 JH
                                                           )
CATHY FITZGERALD,                                          )
                                                           )
               Defendant.                                  )

                    UNOPPOSED MOTION TO CONTINUE SENTENCING

       COMES NOW the United States of America, by and through David C. Iglesias, United

States Attorney for the District of New Mexico, and James R.W. Braun, Assistant U.S. Attorney

for said District, and hereby moves the Court to continue the sentencing set herein on October

26, 2006, for defendant Cathy Fitzgerald, and in support thereof states as follows:

       1.      Sentencing is currently set for October 26, 2006, at 9:30 A.M.

       2.      As noted in defendant Fitzgerald’s previous motion to continue sentencing, filed

on July 18, 2006 (Doc. 575), the pre-sentence report (“PSR”) had not been prepared because the

United States was to provide the United States Probation and Pretrial Services Office

(“Probation”) with the offense conduct for insertion into the PSR after certain cooperating

witness statements were released to all of the defendants in this case.

       3.      Some of the cooperating witness statements were recently released, and the United

States provided Probation with the written offense conduct for defendant Fitzgerald on October

19, 2006. Probation will now need additional time in order to complete the PSR. Therefore, the

parties request that the current sentencing date be vacated, and that sentencing not be reset until


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after January 1, 2007.

       4.      Counsel for defendant Fitzgerald, Clifford McIntyre, does not oppose this motion.

       WHEREFORE, the United States respectfully requests that the Court vacate the October

26, 2006, sentencing and reset this matter after January 1, 2007.

                                                     Respectfully submitted,

                                                     DAVID C. IGLESIAS
                                                     United States Attorney

                                                     /s/ James R.W. Braun

                                                     JAMES R.W. BRAUN
                                                     Assistant U.S. Attorney
                                                     P.O. Box 607
                                                     Albuquerque, New Mexico 87103
                                                     (505) 346-7274


I HEREBY CERTIFY that a true copy
of the foregoing pleading was faxed
to opposing counsel of record, Clifford
McIntyre, this 23rd day of October, 2006

/s/ James R.W. Braun

JAMES R.W. BRAUN
Assistant U.S. Attorney




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